Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 1 of 44




                   EXHIBIT A
                   PART 2 OF 2

 UNREDACTED VERSION OF
 DOCUMENT SOUGHT TO BE
        SEALED
                                           Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 2 of 44
                                                                                   Oracle v. Google

                    Exhibit 1: Quarterly Worldwide Smartphone Unit Sales to End Users by Platform in 2011 and 2015

                                   [A]              [B]             [C]             [D]                   [E]                  [F]                 [G]
                               Windows CE         Palm OS          RIM*           Symbian               iPhone               Android              Other
              [1]     2011Q1     3,658,700               -        13,004,000       27,598,500              16,883,200          36,267,800          3,357,200
              [2]     2011Q2     1,723,800               -        12,652,300       23,853,200              19,628,800          46,775,900          3,106,400
              [3]     2011Q3     1,701,900               -        12,701,100       19,500,100              17,295,300          60,490,400          3,496,600
              [4]     2011Q4     2,759,000               -        13,184,500       17,458,400              35,456,000          75,906,100          4,277,800
              [5]     2015Q1     8,271,000               -         1,325,000              -                60,177,000         265,012,000          1,268,700
              [6]     2015Q2     8,198,000               -         1,153,000              -                48,086,000         271,010,000          1,229,000
              [7]     2015Q3     5,874,000               -           977,000              -                46,062,000         298,797,000          1,133,600

Sources:
[1][A] - [1][G]     Jared Newman, Gartner: Android Dominates Smartphone Sales Worldwide,
                    PCWorld, http://www.pcworld.com/article/228218/Gartner_Android_Dominates_Smartphone_Sales_Worldwide html, Table 2.
[2][A] - [2][G]     Jenny Williams, Worldwide smartphone sales grow 74% in second quarter of 2011, says Gartner, Computer Weekly (Aug. 11, 2011),
                    http://www.computerweekly.com/news/2240105329/Worldwide-smartphone-sales-grow-74-in-second-quarter-of-2011-says-Gartner
[3][A] - [3][G]     Tom Warren, Gartner: Windows Phone sales flat in Q3 2011, WinRumors (Nov. 15, 2011),
                    http://www.winrumors.com/gartner-windows-phone-sales-flat-in-q3-2011/.
[5][A] - [5][G]     Gartner Says Worldwide Smartphone Sales Soared in Fourth Quarter of 2011 With 47 Percent Growth, Gartner (Feb. 15, 2012),
                    http://www.gartner.com/newsroom/id/1924314, Table 3.
[6][A] - [6][G]     Gartner Says Emerging Markets Drove Worldwide Smartphone Sales to 19 Percent Growth in First Quarter of 2015, Gartner (May 27, 2015),
                    http://www.gartner.com/newsroom/id/3061917, Table 2.
[7][A] - [7][G]     Gartner Says Worldwide Smartphone Sales Recorded Slowest Growth Rate Since 2013, Gartner (Aug. 20, 2015),
                    http://www.gartner.com/newsroom/id/3115517, Table 2.
[8][A] - [8][G]     Gartner Says Emerging Markets Drove Worldwide Smartphone Sales to 15.5 Percent Growth in Third Quarter of 2015, Gartner
                    (Nov. 18, 2015), http://www.gartner.com/newsroom/id/3169417, Table 2.

*RIM licensee from 2004-2011: OAGOOGLE2009765798; OAGOOGLE0100167800
                                                   Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 3 of 44

                                                                                               Oracle v. Google

                          Exhibit 2: Annual Worldwide Smartphone Unit Sales to End Users by Platform

                               [A]                 [B]                [C]                [D]                 [E]                   [F]                   [G]            [H]
                           Windows CE           Palm OS              RIM*             Symbian*             iPhone                Android                Other          Total
        [1]        2007      14,698,000           1,762,700          11,767,700         77,684,000           3,302,600                    -             13,100,700     122,315,700
        [2]        2008      16,498,100           2,507,200          23,149,000         72,933,500          11,417,500                    -             12,782,600     139,287,900
        [3]        2009      15,031,000                 -            34,346,600         80,878,300          24,889,700              6,798,400           10,432,100     172,376,100
        [4]        2010      12,378,200                 -            47,451,600        111,576,700          46,598,300             67,224,500           11,417,400     296,646,700
        [5]        2011       9,843,400                 -            51,541,900         88,410,200          89,263,300            219,440,200           14,238,000     472,737,000
        [6]        2012      16,940,700                 -            34,210,300                -           130,133,200            451,621,000           47,203,000     680,108,200
        [7]        2013      30,714,000                 -            18,606,000                -           150,786,000            761,288,000            8,327,000     969,721,000
        [8]        2014      35,133,000                 -             7,911,000                -           191,426,000          1,004,675,000            5,745,000   1,244,890,000
        [9]        2015      28,217,000                 -             4,432,000                -           200,387,000          1,133,616,000            4,764,900   1,371,416,900

Sources:
[1][A] - [2][G]: Gartner Says Worldwide Smartphone Sales Reached Its Lowest Growth Rate With 3.7 Percent Increase in Fourth Quarter of 2008,
Gartner (Mar. 11 2009), http://www.gartner.com/newsroom/id/910112, Table 3.
[3][A] - [4][G]: Lance Whitney, Gartner: Android ranks 2nd in global smartphones, CNET (Feb. 9, 2011),
http://www.cnet.com/news/gartner-android-ranks-2nd-in-global-smartphones, Table 4.
[5][A] - [5][G]: Exhibit 1, Sum [1][A] - [4][G]
[6][A] - [7][G]: Gartner Says Annual Smartphone Sales Surpassed Sales of Feature Phones for the First Time in 2013, Gartner (Feb. 13 2014),
http://www.gartner.com/newsroom/id/2665715, Table 3
[8][A] - [8][G]: Gartner Says Smartphone Sales Surpassed One Billion Units in 2014, Gartner (Mar. 3, 2015), http://www.gartner.com/newsroom/id/2996817, Table 3.
[9][A] - [9][G]: Exhibit 1, Sum [5][A] - [7][G], with Q3 counted twice, in order to approximate Q4
[1][H] - [9][H]: Sum [1][A] - [9][G]
*RIM and Symbian are Java Licensees
RIM licensee from 2004-2011: OAGOOGLE2009765798; OAGOOGLE0100167800
Symbian licensee from 2004-2008: OAGOOGLE0100167800
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 4 of 44
                                                                                Oracle v. Google

      Exhibit 3: Worldwide Android and Java-Based Smartphone Share

                             [A]                     [B]                     [C]             [D]
                           Android                  Java                 Android share    Java share
[1]          2007                   -               89,451,700                     0.0%         73.1%
[2]          2008                   -               96,082,500                     0.0%         69.0%
[3]          2009             6,798,400            115,224,900                     3.9%         66.8%
[4]          2010            67,224,500            159,028,300                    22.7%         53.6%
[5]          2011           219,440,200            139,952,100                    46.4%         29.6%
[6]          2012           451,621,000             34,210,300                    66.4%          5.0%
[7]          2013           761,288,000             18,606,000                    78.5%          1.9%
[8]          2014         1,004,675,000              7,911,000                    80.7%          0.6%
[9]          2015         1,133,616,000              4,432,000                    82.7%          0.3%

      Sources:
      [1][A] - [9][A[1][A] - [9][A]: Exhibit 2 [1][F] - [9][F]
      [1][B] - [9][B]: Exhibit 2 [1][C] - [9][C] + [1][D] - [9][D]
      [1][C] - [9][C]: ([1][A] - [9][A]) / (Exhibit 2 [1][H] - [9][H])
      [1][D] - [9][D]: ([1][B] - [9][B]) / (Exhibit 2 [1][H] - [9][H])
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 5 of 44




                      Exhibit 4: Percentage of US Households with Internet



                      1993 1994 1995 1996 1997 1998* 1999          2000      2001   2002   2003   2004   2005   2006


Percentage with
Internet        -          -     -     -      18%    22%     26%    42%       51%    52%    55%    56%    58%    60%

Source:
ITU World Telecommunication/ICT Indicators database, 2015.
*1998: Interpolated
                                                 Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 6 of 44
                                                                                                Oracle v. Google



    Exhibit 5: Google Worldwide Revenue, in millions
                       [A]     [B]      [C]         [D]                     [E]           [F]           [G]           [H]           [I]           [J]       [K]       [L]      [M]        [N]
                      2002    2003     2004        2005                    2006          2007          2008          2009          2010          2011      2012      2013      2014      2015
    Total
[1] Advertising        $411   $1,421   $3,143      $6,065                 $10,493       $16,413       $21,129       $22,889        $28,236      $36,531    $43,686   $50,578   $59,056   $67,390
    Revenue

[2] Licensing and            $29         $45         $46         $74          $112         $181          $667           $762        $1,085        $1,374    $2,353    $4,972    $6,945    $7,151
    Other Revenues
[3] Total                  $440      $1,466      $3,189       $6,139      $10,605       $16,594       $21,796       $23,651        $29,321      $37,905    $46,039   $55,550   $66,001   $74,541


Sources:
[1][A] - [2][C]: Google 2004 10K. Page 25. Licensing and Other Revenues consist of
"revenues from the license of our web search technology, the license of our search solutions to enterprises and the sale and license of other products
[1][D] - [2][F]: Google 2007 10K, Page 37. Licensing and Other Revenues consist of
"revenues from the license of our web search technology, the license of our search solutions to enterprises and the sale and license of other products
[1][G] - [2][I]: Google 2010 10K, Page 29. In the 2010 and subsequent 10K filings, Licensing and Other Revenues is listed as Other revenues, and the
categories are no longer enumerated.
[1][J] - [2][L]: Google 2013 10K, Page 27.
[1][M] - [2][M]: Google 2014 10K, Page 23.
[1][N] - [2][N]: Alphabet 2015 10K, Page 12.
[1][O] - [2][O]: Google 2015 Q3 10-Q, Page 33, this table contains Q1-Q3.
[1][P] - [2][P]: Google 2015 Earnings Announcement (https://abc xyz/investor/news/earnings/2015/Q4_google_earnings/index.html),
 retrieved February 3, 2016.
[3]: [1] + [2]
                                 Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 7 of 44
                                                                     Oracle v. Google


    Exhibit 6: Java ME Billings, 2005 to 2010

                          2005             2006         2007                2008          2009          2010
    Total ME
                       $51,372,066      $90,079,950   $109,853,211        $99,196,919   $97,654,250   $95,514,722
    Revenues




Source:
OAGOOGLE000062097 at Page 4.
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 8 of 44
                                                                            Oracle v. Google


Exhibit 7: Worldwide Mobile Cellular Subscriptions

                                       Mobile Cellular Subscriptoins                                  Mobile Cellular Subscriptoins
               Year                            World-Wide                                      Year           World-Wide
                1980                                             23,482                        1998                    318,094,174
                1981                                             63,585                        1999                    490,979,600
                1982                                            101,509                        2000                    738,151,139
                1983                                            148,855                        2001                    960,971,700
                1984                                            319,252                        2002                  1,164,248,294
                1985                                            750,629                        2003                  1,414,992,537
                1986                                          1,450,136                        2004                  1,760,951,960
                1987                                          2,545,270                        2005                  2,205,267,896
                1988                                          4,327,956                        2006                  2,744,574,819
                1989                                          7,353,071                        2007                  3,368,126,869
                1990                                         11,210,115                        2008                  4,028,070,041
                1991                                         16,276,503                        2009                  4,635,598,795
                1992                                         23,245,154                        2010                  5,297,769,999
                1993                                         34,163,332                        2011                  5,893,428,091
                1994                                         55,511,190                        2012                  6,265,132,850
                1995                                         90,742,447                        2013                  6,665,937,272
                1996                                        145,039,493                        2014                  6,965,109,443
                1997                                        214,950,979




Source:
Mobile Cellular Subscriptions , The World Bank,
Data provided within the "Data" tab of excel doc, World Data is available
Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 9 of 44
Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 10 of 44
                              Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 11 of 44
                                                            Oracle v. Google

       [A]                [B]          [C]          [D]
     Month              Android        iOS         Others
   12/1/2014
    1/1/2015
    2/1/2015
    3/1/2015
    4/1/2015
    5/1/2015
    6/1/2015

Source:
GOOG-00022388
iOS Data available in [C]
                    Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 12 of 44
                                                               Oracle v. Google


Exhibit 9: Android Revenues (in millions)

                                         [A]         [B]           [C]            [D]          [E]           [F]           [G]          [H]
                                           2008        2009           2010          2011          2012          2013             2014         2015
     [1]       Ads***                              $   15.7 $        120.1 $       569.0 $     2,152.4 $     4,659.5 $
     [2]       App Sales                           $     1.1 $         8.0 $        36.2 $       136.1 $     1,435.5 $
     [3]       Direct to Consumer                  $     -   $       115.2
     [4]       Hardware                                                    $         -     $     303.5   $     834.7   $
     [5]       Digital Content                                             $        14.8   $     105.8   $     297.5   $
     [6]       Total              $         0.70   $    16.8   $     243.4 $       620.0   $   2,697.8   $   7,227.2   $


Sources:
[6][A]: GOOGLE-00303725
[1][B] - [3][B] & [6][B]: GOOGLE-01-00053552
[1][C] - [3][C] & [6][C]: GOOGLE-77-00053555
[1] [D]: GOOG-00134535
[2][D] & [4][D] - [5][D]: GOOG-00103813
[2][E] & [4][E] - [5][E]: GOOG-00103813
[2][F] & [4][F] - [5][F]: GOOG-00103813
[2][G] & [4][G] - [5][G]: GOOG-00103813
[2][H] & [4][H] - [5][H]: GOOG-00103813
[1][E], [1][F], [1][G]: GOOG-00022386
[1][G]: GOOGLE-77-00053555 *Google forecasted ad revenue for 2011
[1][H]: GOOG-00022386 **Q1+Q2 doubled to estimate total 2015 Android Ad Revenue
[6][D], [6][E], [6][F], [6][G], [6][H]: Calculated by summing rows 1-5
***: Ads include Search, AdSense, and Display
                      Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 13 of 44
                                                                      Oracle v. Google



              Exhibit 10: Developer Mindshare (Percent of Developers Writing Apps for Each Platform)


                                               [A]           [B]           [C]           [D]           [E]              [F]       [G]
                                              2010          2011          2012         2013Q1        2013Q3            2013      2014
[1]           Android                             59%           67%           76%          72%            71%              72%      71%
[2]           Java ME                             50%           46%           35%          16%            13%              15%      10%

Sources:
[1][A], [1][B]: Developer Economics 2011, p.16
[2][A], [2][B]: Developer Economics 2011, p.16
[1][C], [2][C]: Develoepr Economics 2012 available at:
http://www.statista.com/chart/424/app-developers-increasingly-focus-on-android-and-ios/
[1][D] - [2][D] , [1][E] - [2][E], [1][G] - [2][G]: Developer Economics Q1 2014, State of the Developer Nation, p.16
[1][G]: Developer Economics Q1 2014 pp. 2
[F]: Average of [D] and [E]
*Developers were permitted to choose more than one platform
                      Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 14 of 44

                                                 Oracle v. Google

Exhibit 11: Google TAC payments to “Partner A”




Source: Docket 1436
[A] - [E]: Native

Calculations:
[F]: [B] * [D]
[G]: [C] * [E]
Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 15 of 44
                                    Oracle v. Google

   Exhibit 12: Google TAC payments to “Partner B”




   Source: Docket 1436
   [A] - [C]: Native

   Calculations:
   [D]: [B] * [C]
Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 16 of 44
                                    Oracle v. Google

   Exhibit 13: Google TAC payments to “Partner C”




   Source: Docket 1436
   [A] - [C]: Native

   Calculations:
   [D]: [B] * [C]
        Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 17 of 44
                                             Oracle v. Google

Exhibit 14: Google TAC payments to “Partner D”




Source: Docket 1436
[A] - [C]: Native

Calculations:
[D]: [B] * [C]
Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 18 of 44
                                    Oracle v. Google

   Exhibit 15: Google TAC payments to “Partner E”




   Source: Docket 1436
   [A] - [C]: Native

   Calculations:
   [D]: [B] * [C]
        Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 19 of 44
                                             Oracle v. Google

Exhibit 16: Google TAC payments to “Partner F”




Source: Docket 1436
[A] - [C]: Native

Calculations:
[D]: [B] * [C]
                              Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 20 of 44
                                                                             Oracle v. Google




       Exhibit 17: Worldwide sales of Android phones and shipments of Android tablets


                                 [A]                [B]                  [C]                   [D]                   [E]              [F]             [G]
                                2009               2010                 2011                  2012                  2013             2014            2015
[1]     Phones                 6,798,400          67,224,500          219,440,200           451,621,000            761,288,000    1,004,675,000   1,133,616,000
[2]     Tablets                   -                4,400,000           26,533,333            74,000,000            142,133,333      165,600,000     139,800,000

Sources:
[1][A] - [1][B]: Gartner: Android ranks 2nd in global smartphones, Gartner (February 9, 2011),
http://www.cnet.com/news/gartner-android-ranks-2nd-in-global-smartphones/.
[1][C]: Exhibit 1, Sum [1][F] - [4][F]
[1][D]: Gartner Says Annual Smartphone Sales Surpassed Sales of Feature Phones for the First Time in 2013, Gartner
(Feb. 13 2014), http://www.gartner.com/newsroom/id/2665715, Table 3
[1][E] - [1][F]: Gartner Says Smartphone Sales Surpassed One Billion Units in 2014, Gartner (Mar. 3, 2015),
http://www.gartner.com/newsroom/id/2996817, Table 3.
[1][G]: Exhibit 1, Sum [5][A] - [7][G], with Q3 counted twice, in order to approximate Q4
[2][B] - [2][F]: Global Tablet Shipments by Operating System Per Quarter 2010-2015, Statista,
http://www.statista.com/statistics/273268/worldwide-tablet-sales-by-operating-system-since-2nd-quarter-2010/, accessed
February 8, 2016. Data for 2010 Q1, 2011 Q1, and 2013 Q3 are unavailable, those quarters are interpolated based on those years.
[2][G]: Worldwide Tablet Shipments Expected to Decline -8.0% in 2015 while 2-in-1 Devices Pick Up Momentum, Growing 86.5%
IDC (Aug. 26, 2015), http://www.idc.com/getdoc.jsp?containerId=prUS25867215. This is a forecast for 2015.
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 21 of 44


Exhibit 18: Java Across Form Factors




Sources:
1) THG Reporting Team, GM, Sun Agree to Make OnStar Java, TOM’S HARDWARE (Oct. 17, 2000), http://www.tomshardware.co.uk/gm,news-2420 html; 2000 GM Yukon Denali,
Cars.com, http://www.cars.com/gmc/yukon/2000/snapshot (last visited February 5, 2016).
2) Stephen Shankland, Sun Puts Java into Gear for Cars (June 29, 2004), http://www.zdnet.com/article/sun-puts-java-into-gear-for-cars; 2002 5 Series Values, Nada Guides,
http://www nadaguides.com/Cars/2002/BMW/5-Series (last visited February 5, 2016).

3) 13 of The Longest Living Playstation 2 Multiplayer Games, Game Skinny, http://www.gameskinny.com/jgupp/13-of-the-longest-living-playstation-2-multiplayer-games (last
visited February 5, 2016); Sony Computer Entertainment Integrates Java Capabilities Into PlayStation® 2, Sony (June 4, 2001), http://www.sony.com/en_us/SCA/company-
news/press-releases/sony-computer-entertainment-america-inc/2001/sony-computer-entertainment-integrates-java-capabi.html.

4) Blackberry Bold Touch 9900 Pictures, GSM Arena, http://www.gsmarena.com/blackberry_bold_touch_9900-pictures-3116.php (last visited February 5, 2016).

5) BDP-S550 Blu-ray Player Price Comparison, Blu Ray Player Price Comparison, http://www.bdp-s550.com/bdp-s550-blu-ray-player.shtml (last visited February 5, 2016).

6) Paul Krill, Update: RIM Jumps into Tablet Game, InfoWorld (Sep. 27, 2010), http://www.infoworld.com/article/2626372/application-development/update--rim-jumps-into-
tablet-game.html; Android App Player, Crackberry, http://crackberry.com/tag/android-app-player (last visited February 6, 2016).
                              Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 22 of 44


Exhibit 18: Java Across Form Factors (Continued)




7) HP Mini 210-1010NR - 10.1" - Atom N450 - Windows 7 Starter - 1 GB RAM - 160 GB HDD, http://www.cnet.com/products/hp-mini-210-1010nr-10-1-atom-n450-windows-7-
starter-1-gb-ram-160-gb-hdd/specs (last visited February 6, 2016); HP Mini 210-2090NR 10.1" Netbook Computer (Crimson Red),
http://www.bhphotovideo.com/c/product/735600-REG/HP_Hewlett_Packard_XG714UA_ABA_Mini_210_2090NR_10_1_Netbook.html (last visited February 6, 2016) .
8) Motorola XOOM MZ604, http://www.gsmarena.com/motorola_xoom_mz604-3833.php (last visited February 6, 2016).
10) Device Magazine, http://www.devicemag.com/2011/12/14/apple-macbook-pro-new-line-up-sports-retina-display-screen-of-2880-x-1800-resolutions-coming-in-q2-2012 (last
visited February 6, 2016); Java 20 Years, Oracle, http://oracle.com.edgesuite net/timeline/java/ (last visited February 6, 2016).
11) Computer Forum, http://www.computerforum.com/threads/is-the-dell-dimension-3000-an-atx.101437 (last visited February 6, 2016).
12) John Zukowski, Think small: Java on Compaq's iPAQ, JavaWorld (Oct. 26, 2001), http://www.javaworld.com/article/2075780/mobile-java/think-small--java-on-compaq-s-
ipaq html.
13) Virgin Mobile USA and Kyocera Wireless Debut the K10 Royale with Java Powered Games and Ringtones, Kyocera (Apr. 5, 2005), http://americas kyocera.com/press-
releases/press-releases_201503191202.htm; K10 Royale User Guide, Virgin Mobile USA, https://www.virginmobileusa.com/resources/phones/prepaid/manual/kyocera-k10.pdf
(last visited February 6, 2016).
14) OAGOOGLE3000000021; Palm-i705-OS-4-1-Touchscreen-Wireless-PDA-w-Memory-Card-Power-Supply, ebay, http://www.ebay.com/itm/Palm-i705-OS-4-1-Touchscreen-
Wireless-PDA-w-Memory-Card-Power-Supply-/321387285147 (last visited February 6, 2016).
15) HP Palm Centro 690 Specifications, UM Net, http://www.umnet.com/phone/1541-HP_Palm_Centro_690 (last visited February 6, 2016).
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Freeware, http://www.symbian-freeware.com/download-skype-s60.html (last visited February 6, 2016).
17) CSG Network, http://www.csgnetwork.com/javacheck html (last visited February 6, 2016).
                                Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 23 of 44


Exhibit 19: Java Phone Continuum




Sources:

    1)     EMARTBUY NOKIA N8 SCREEN PROTECTOR 5-IN-1 PACK with MicroFibre cleaning cloth, Amazon, http://www.amazon.co.uk/EMARTBUY-SCREEN-
           PROTECTOR-MicroFibre-cleaning/dp/B003O2FWS6/ref=pd_sim_23_2/280-7914095-
           7787331?ie=UTF8&dpID=41g79XRbO4L&dpSrc=sims&preST=_AC_UL160_SR92%2C160_&refRID=04E53Z9NJB8DT0YA6JAB (last visited February 6, 2016).
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    3)     Motorola Droid 3, http://www.gsmarena.com/motorola_droid_3-pictures-4036.php (last visited February 6, 2016).
    4)     Apple iPhone4, http://www.gsmarena.com/apple_iphone_4-3275.php (last visited February 6, 2016).
    5)     The Case Studio, http://thecasestudio.com/devices (last visited February 6, 2016).
    6)     HTC Magic, GSM Arena, http://www.gsmarena.com/htc_magic-2714.php (last visited February 6, 2016).
    7)     Blackberry Tune, http://www.blackberrytune.com/blackberry/curve-9350/ (last visited February 6, 2016).
    8)     T Mobile Sidekick LX 2009, GSM Arena, http://www.gsmarena.com/t_mobile_sidekick_lx_2009-2787.php (last visited February 6, 2016).
    9)     Apple iPhone 3G, GSM Arena, http://www.gsmarena.com/apple_iphone_3g-2424.php (last visited February 6, 2016).
    10)    Amazon, http://www.amazon.com/droid-turbo-64gb-case/cp/kotpprwbjb9p9a7 (last visited February 6, 2016).
    11)    LG KF750 Secret Pictures, GSM Arena, http://www.gsmarena.com/lg_kf750_secret-pictures-2352.php (last visited February 6, 2016).
    12)    T Mobile G1, GSM Arena, http://www.gsmarena.com/t_mobile_g1-pictures-2533.php (last visited February 6, 2016).
    13)    Nokia 6500 Slide, GSM Arena, http://www.gsmarena.com/nokia_6500_slide-1996.php (last visited February 6, 2016).
    14)    Read these hilariously negative reactions to the original iPhone announcement, BGR (Apr. 7, 2015), http://bgr.com/2015/04/07/original-iphone-reaction-comments.
    15)    What Mobile, http://www.whatmobile.com.pk/HTC_Touch (last visited February 6, 2016).
    16)    LG KE970 Shine, GSM Arena, http://www.gsmarena.com/lg_ke970_shine-1829.php (last visited February 6, 2016).
    17)    Blackberry Pearl Black, http://all-free-download.com/free-icon/icons/blackberry_pearl_black_89389 html (last visited February 6, 2016).
                           Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 24 of 44


      Exhibit 19: Java Phone Continuum (Continued)




18) Moby Ware, http://www mobuware net/free-samsung-blackjack-2-i617-device-software-download-959-all-1-date.html (last visited February 6, 2016).

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20)   Sony Ericsson W800, GSM Arena, http://www.gsmarena.com/sony_ericsson_w800-1089.php (last visited February 6, 2016).
21)   Motorola L6, GSM Arena, http://www.gsmarena.com/motorola_l6-pictures-1118.php (last visited February 6, 2016).
22)   Wikiwand, http://www.wikiwand.com/de/Sony_Ericsson_K750 (last visited February 6, 2016).
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25)   Freeware Symbian, http://www freeware-symbian.net/nokia-6630-device-software-download-67-all-1-date html (last visited February 6, 2016).
26)   Retrevo, http://www retrevo.com/support/Samsung-SGH-E700-Cell-Phones-manual/id/291ci869/t/2/ (last visited February 6, 2016).
27)   MobiUA, http://mobiua.com/mobile/10689-RIM-BlackBerry-7220.html (last visited February 6, 2016).
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                     Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 25 of 44



Exhibit 20: Java Enabled Devices (in millions)


             Year          Java Devices
[1]                 2003            120
[2]                 2005            850
[3]                 2006          1,000
[4]                 2008          2,600

Sources:
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[2]: http://www fieldtechnologiesonline.com/doc/action-engine-mobile-application-platform-del-0001
[3]: http://newsroom.sprint.com/news-releases/sprint-and-sun-microsystems-introduce-innovative-custom-development-solutions-to-java-me-community htm
[4]: http://www.businesswire.com/news/home/20090602005541/en/Mobile-Industry-Collaborates-Advance-Java-Platform-Micro
             Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 26 of 44


Exhibit 21: Google’s Window of Mobile Opportunity




Sources:

    1.  Microsoft SEC Form 10-K (2004), at 11.
    2.  Yahoo! Letter to Shareholders, Yahoo! 2004 Annual Report (2004), at 4.
    3.  Yahoo! Letter to Shareholders, Yahoo! 2005 Annual Report (2005), at 4.
    4.  Mark Veverka, Ballmer and Zander Make Nice in the Name of a Gadget Called Q, Barron’s (Aug. 1, 2005),
        http://www.barrons.com/articles/SB112267936933700392.
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        http://www.morganstanley.com/views/perspectives/files/Global_Internet_Trends_121906_FINAL.pdf.
    6. Technology / Internet Trends, Morgan Stanley (October 18, 2007), P. 29 available at
        http://www.slideshare.net/2tique/technology-internet-trends.
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        00019529 at 530)
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        f.
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    12. Apple Revinvents the Phone with iPhone, Apple Press Info, 1/9/2007,
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                                Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 27 of 44




Oracle America, Inc. v. Google Inc.
Case No. CV 10-03561 WHA

                      Exhibit 22: Examples of Java Customers, Potential Opportunities, and Lost Opportunities


   Product Category   OEM             Source                                                                     Quote
                                                                                  “Java is the used [sic] extensively for Smartphone class devices[.] 8
                                                                                   of 10 leading Smartphone platforms are Java based[.]”; slide
   Phones             General         OAGOOGLE0000154715
                                                                                   generally contains plans for not only mobile but TV and other
                                                                                   markets.
                                                                                  “VP Cho believes #1 benefit to Samsung is Oracle support for
                                      OAGOOGLE2000031102                           Samsung Android devices … VP No suggested we should convert
                                                                                   all of our Java developers to Android.”
                                                                                  “My fear is that Gaia goes with Google/Android. . .
                                                                                   Gaia/Aplix/iaSolution is deep rooted in Japan and China. Losing
                                      OAGOOGLE2000059830
                                                                                   Gaia in Java community means a huge mountain to climb for Java
                                                                                   embedded business in JAPAC.”
                                                                                  “Samsung loyalty [sic] reports covers the whole Samsung models
                                                                                   but not detailed for each VM vendor. However, we know even the
                                                                                   volume of feature phones drastically decreasing, still Samsung
                                      OAGOOGLE2000180299
                                                                                   phones (w/ GAIA VM ported) are being launched. If Oracle no
                                                                                   longer renews the license to GAIA, then it will impact to Samsung
                                                                                   phone launching and can cause big issues.”
   Phones             Samsung
                                                                                  “Q. Does Oracle currently have a license agreement with Samsung?
                                      Deposition of Mike Ringhofer, Dec.           A. Yes. Q. What does that license agreement cover? A. We also have
                                      2, 2015, 20:9-21                             a variety of licensing—fields of use with Samsung. One of those
                                                                                   being with phones.”
                                                                                  “So Samsung is one of the largest phone providers on the planet.
                                                                                   Approximately three years ago we did a roughly                  prepay
                                                                                   with them for Java ME. We just did a deal last week with them for
                                      Deposition of Mike Ringhofer, Dec.
                                                                                   the same phones at approximately              . That is significant
                                      2, 2015, 69:13-25
                                                                                   erosion in three years. I have heard from my sales team that
                                                                                   engineers at Samsung have said, "Why should we pay for Java, when
                                                                                   we get it for free 'cause it's in Android."
                                      Deposition of Mike Ringhofer, Dec.          “Q. So Oracle is actively pursuing Samsung to license Java in
                                      2, 2015, 81:22-24                            mobile phones? A. Yes.”



                                                                           1
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 28 of 44



Product Category   OEM               Source                                                                    Quote
                                                                                 “Q. Is Oracle currently trying to win new deals with Samsung? A.
                                                                                  We're absolutely trying to win new deals with Samsung, yes.”
                                                                                 “Q. As you sit here today, are you aware of any reason for why
                                     Deposition of Georges Saab, Dec.
                                                                                  Samsung is using Android instead of Java ME? THE WITNESS:
                                     16, 2016, 47:17-22
                                                                                  You know, cost is going to be a substantial reason for sure.”
                                                                                 Q. Does Oracle currently have a license agreement with LG? A.
                                                                                  Yes. Q. And what does that license agreement cover? A. We -- we
                                     Deposition of Mike Ringhofer, Dec.
Phones             LG Electronics                                                 have -- we have a few -- well, there's a few different arrangements.
                                     2, 2015, 18:1-10
                                                                                  They're licensed in multiple products. But they are still a licensee on
                                                                                  a number of phones.”
                                                                                 “Q. Does Oracle currently have a license with Kyocera? A. Yes. Q.
                                     Deposition of Mike Ringhofer, Dec.           What is that license? A. They are also licensed for our handsets --
                                     2, 2015, 23:14-22                            phones, and I'm trying -- mainly -- yeah, phones and I'm trying to
                                                                                  think if there's other use cases. Mainly phones.”
                                     Deposition of Mike Ringhofer, Dec.          “Q. Is Oracle actively trying to license Java to Kyocera for use in
                                     2, 2015, 87:4-7                              mobile phones? A. We are.”
Phones             Kyocera
                                                                                 “Though we have an approval of MDE, now the schedule is a big
                                                                                  concern, as we found the Inbound License was not completed
                                                                                  between Oracle and Qualcomm US side for us to start work on the
                                     OAGOOGLE2000125785
                                                                                  target board. The license with Qualcomm seems to take further time
                                                                                  . . . We will continue talking to KDDI, Kyocera and Qualcomm,
                                                                                  watching our US HQ movement.”
                                                                                 Q. And does Oracle currently have a license with Sharp? A. Yes. Q.
                                     Deposition of Mike Ringhofer, Dec.
                                                                                  What does that license cover? A. I know there's phones that are
                                     2, 2015, 24:4-10
                                                                                  covered.”
Phones             Sharp
                                                                                 “Q. Is Oracle actively trying to license Java to Sharp for use in
                                     Deposition of Mike Ringhofer, Dec.
                                                                                  mobile phones? A. We would be actively looking to license to Sharp
                                     2, 2015, 87:19-254
                                                                                  on new phones that come out, yes. I'm -- yes.”
                                                                                 “Q. Okay. Looking at the "Phones" category, who amongst the
                                     Deposition of Mike Ringhofer, Dec.
                                                                                  companies listed in the second column are current Oracle licensees?
                                     2, 2015, 72:19-73:1
                                                                                  A. Current … Panasonic is current.”
                                                                                 “Q. Is Oracle actively trying to license Java to Panasonic for use in
Phones             Panasonic
                                                                                  mobile phones? A. So—with the existing deal, yes, we will again, as
                                     Deposition of Mike Ringhofer, Dec.
                                                                                  I don’t know where that end date is. And on new phones where there
                                     2, 2015, 88:3-11
                                                                                  is an opportunity when they launch, we would look to win the
                                                                                  business of the new phones as well.”
                                     Deposition of Mike Ringhofer, Dec.          Q. Okay. And is RIM a current Oracle licensee? A. Not current. Q.
Phones             RIM
                                     2, 2015, 44:19-45:5                          Was RIM at one time an Oracle licensee? A. Yes. Q. And what was


                                                                          2
                              Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 29 of 44



Product Category   OEM              Source                                                                      Quote
                                                                                   it that RIM had licensed from Oracle? A. They had licensed Java
                                                                                   ME for their phones.
                                                                                  “Q. Okay. And did Oracle try to renew a contract with RIM? A. We
                                    Deposition of Mike Ringhofer, Dec.
                                                                                   -- we were told that there were no more units using Java. So I guess
                                    2, 2015, 46:3-9
                                                                                   there was really no further discussions.”
                                                                                  “Is it your belief that absent Android, Oracle would have secured a
                                    Deposition of Mike Ringhofer, Dec.
                                                                                   contract with RIM to place Java in new RIM phones? A. I certainly
                                    2, 2015, 51:13-20
                                                                                   think we would have had a good shot, yes.”
                                                                                  “Q. Is Oracle actively trying to license Java for RIM for use in
                                                                                   mobile phones? A. We -- I am not aware of any discussions that are
                                    Deposition of Mike Ringhofer, Dec.
                                                                                   going. As we said earlier, they are not a licensee. Clearly, there's an
                                    2, 2015, 88:15-24
                                                                                   opportunity for us because they're running on Android. But they
                                                                                   don't want to pay us when they get it for free in Android.”
                                                                                  “RIM was a Java licensee for many, many years -- I believe still is --
                                    Deposition of Georges Saab, Dec.               and at -- at some point, you know, found that the -- they -- they went
                                    16, 2016, 59:8-16                              from building phones that were based on Java to build- -- adding
                                                                                   phones that were based on Android.”
                                                                                  “Was Oracle's deal with BlackBerry a license for Java ME? A. I'm
                                    Deposition of Henrik Stahl, Jan. 14,           not entirely sure, but I believe that RIM licensed CDC. RIM is the
                                    2016, 149:9-14                                 company that builds BlackBerry phones. I believe they licensed
                                                                                   CDC, which is an ME specification.”
                                                                                  “Java business at Moto dropped off significantly last fiscal [2012]
Phones             Motorola         OAGOOGLE2000011623                             due to their commitment to Android and eventual purchase of Mot
                                                                                   Mobility patents by Google.”
                                    OAGOOGLE2000181111
                                                                                  “Nokia is blocked in some countries by carriers who require devices
Phones             Nokia                                                           to run with certain apps—e.g. “Instagram”
                                    OAGOOGLE2000180278
                                                                                  Nokia approaches Instagram who says—“we won’t port to Java—
                                                                                   Java is dead, etc.”
                                                                                  Vodafone “Statement of Work No. 5 to Sun Engineering Services
Phones             Vodafone         OAGOOGLE2000181179
                                                                                   Agreement No. 136188, Version 1.11, Issued 19th January 2004”
                                                                                  “SEMC is quickly phasing out their feature phone portfolio … The
Phones                              OAGOOGLE2000061527
                                                                                   rest of their handsets arer [sic] based on Android.”
                   Sony Ericsson    OAGOOGLE0000804592                            “their [sic] increasing usage of Android and reducing usage of Java”
                                                                                  “SEMC – they have been designing us out for Android … it seems
                                    OAGOOGLE2000061817
                                                                                   that they want some relationship with us as a hedge”




                                                                           3
                             Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 30 of 44



Product Category   OEM                Source                                                                   Quote
                                                                                  “Q. Of the companies that are listed on this list in the "Phones"
                                      Deposition of Mike Ringhofer, Dec.
                                                                                   category, can you identify which ones you believe Oracle lost to
                                      2, 2015, 76:11-19
                                                                                   Android? A. Samsung, LGE -- well, ZTE, Huawei, RIM, Motorola
                                                                                   now Lenovo, Sharp, Panasonic, Sony is no longer an entity, I
Phones             ZTE
                                                                                   believe. That partnership -- well, went away. And I'm not sure
                                                                                   about Vodafone.”
                                                                                  “ZTE is using 100% OJWC [Oracle Java Wireless Client] for all
                                      OAGOOGLE2008898614
                                                                                   their feature phones.”
                                                                                  “Q. Of the companies that are listed on this list in the "Phones"
                                                                                   category, can you identify which ones you believe Oracle lost to
                                                                                   Android? A. Samsung, LGE -- well, ZTE, Huawei, RIM, Motorola
                                      Deposition of Mike Ringhofer, Dec.
                                                                                   now Lenovo, Sharp, Panasonic, Sony is no longer an entity, I
                                      2, 2015, 76:11-19
                                                                                   believe. That partnership -- well, went away. And I'm not sure
                                                                                   about Vodafone.”
Phones             Huawei
                                                                                  “However, you may check with Land for Huawei who is using
                                                                                   significant Gaia/Aplix implementations across couple of product
                                                                                   lines from GSM/GPRS to TD_SCDMA which doesn’t pass-through
                                      OAGOOGLE2008898614
                                                                                   the revenue from Gaia/Aplix to Oracle but pay directly from Huawei
                                                                                   in prepay license with Oracle, the impact may be big to Huawei if
                                                                                   Gaia/Aplix drop the Java license.”
                                                                                  “It was a sobering meeting for Oracle as our HTC counterparts
                                                                                   explained how their java shipments will dry up very quickly as they
Phones             HTC                OAGOOGLE0001156560
                                                                                   migrate over to Android devices. Furthermore and most importantly
                                                                                   for us, they intend not to make any prepayment.”
                   Sprint, Verizon,
Phones                                OAGOOGLE0000799926                          “I see Android and am run over by it in all accounts.”
                   AT&T, T-Mobile
                                                                                  “Digital Medical Equipment Industry, Smart communications,
Wearables          General            OAGOOGLE2000075576
                                                                                   Industry challenges: Wearable, hands-free”
                                                                                  “It happens what we were afraid of in Korea IoT market. … LG
                                      OAGOOGLE2000023928                           Electronics will also announce Android-Wearable platform as a
                                                                                   wearable device (within 3 months)”
Wearables
                                      OAGOOGLE2000022801                          “Java Design Win Business Plan version 2 . . . LGE IoT Health
                   LG Electronics
                                      OAGOOGLE2000023647                           Device”
                                      OAGOOGLE2000022801

                                                                                  We have a $220K ME8.1 FPE opportunity with LGE IoT team for
                                      OAGOOGLE2000131360
                                                                                   healthcare and other smart devices.” March 2015 email


                                                                           4
                             Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 31 of 44



Product Category   OEM             Source                                                                    Quote
                                   Deposition of Mike Ringhofer, Dec.          Q. So is there currently a license [in wearables] with LG? A. There
                                   2, 2015, 102:12-14                           is not.”
                                                                               “2H FY14 Samsung Account Plan . . . JavaME Embedded for
                                   OAGOOGLE2000054847                           Samsung Wearable Platform . . . Become standard platform for
                                                                                Samsung wearable devices”
                                                                               “They made a small size blood checker … They were interested in
                                   OAGOOGLE2000077924                           Android Framework, but did not look into much due to busy
                                                                                schedule … .”
                                                                               “Samsung project team needs to have USP (User Sale Point) with
Wearables          Samsung
                                   OAGOOGLE2000023808                           Java platform to persuade their upper management who are on
                                                                                Android platform side”
                                                                               “So we are constantly looking at business. Samsung is a huge
                                   Deposition of Mike Ringhofer, Dec.
                                                                                device manufacturer. In the list they're in wearables. We're
                                   2, 2015, 83:6-10
                                                                                pursuing to get them on a Smartwatch. We lost that to Android.”
                                   Deposition of Mike Ringhofer, Dec.          “Q. Is there a current license with Samsung for use of Java in any
                                   2, 2015, 102:15-18                           wearable? A. There is not because they have selected Android.”
                                                                               “Regarding GE healthcare, its [sic] not yet accepted because it is not
                                   OAGOOGLE2000128379                           a Java embedded opportunity and the devise [sic] platform chosen is
                                                                                Android.”
Wearables          GE Healthcare
                                                                               Q. And is there a current license between Oracle and GE Healthcare
                                   Deposition of Mike Ringhofer, Dec.
                                                                                for a wearable device? A. There is not because they had selected
                                   2, 2015, 102:19-23
                                                                                Android as well.”
                                                                               “Java Business Status IoT and Verticals . . . Embedded Java
Automotive         General         OAGOOGLE2000095625                           Revenue Opportunity Capturing 35% of Vehicle Volumes . . . Ten
                                                                                Year Opportunity $1B+”
                                                                               “Not only JavaME 8 is the Volkswagen requirement but also
                                                                                JavaME 8 is the best platform for this type of device … Volkswagen
Automotive         Volkswagen      OAGOOGLE2000055353                           and LGE have experiences with less quality of other vendor
                                                                                solutions such as IBM J9 and Android. This JavaME 8 platform will
                                                                                mitigate their concerns.”
                                                                               Q. Does Oracle currently have a license with Volkswagen? A. Yes.
                                   Deposition of Mike Ringhofer, Dec.
                                                                                Q. What is covered by that license? A. Not sure. It would be one of
                                   2, 2015, 26:7-14
                                                                                either Java SE or Java ME.”
                                                                               “Q. Okay. Of the companies listed under the "Automotive"
                                                                                category, who amongst them has Oracle lost business due to
                                   Deposition of Mike Ringhofer, Dec.
                                                                                Android? “I'm also aware of an earlier opportunity at VW, … to the
                                   2, 2015, 109:12-110:1
                                                                                best of my knowledge, center around the kind of the infotainment --
                                                                                the head unit, the main unit that when you get into your car you're


                                                                        5
                              Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 32 of 44



Product Category   OEM              Source                                                                    Quote
                                                                                 looking at, at controls, the climate, the radio, that head unit. I
                                                                                 believe in all three scenarios we participated lost to Android.”
                                                                                “Did Oracle have a license with Volkswagen and then Volkswagen
                                    Deposition of Mike Ringhofer, Dec.           moved to Android? A. We did not. We competed, and they're
                                    2, 2015, 110:4-12                            extremely price-sensitive, and unfortunately our price was more than
                                                                                 free.”
                                                                                “I was hable [sic] to finalize the Eval license type D, therefore now
Automotive         Audi             OAGOOGLE2006035268
                                                                                 MicroDoc can deliver the port to VW and Audi.”
                                    Deposition of Mike Ringhofer,               “Daimler Truck, my understanding is that is an opportunity license
Automotive         Daimler Truck
                                    Dec. 2, 2015, 106:9-11                       via MicroDoc.”
                                                                                “Q. Okay. Looking at ‘Automotive,’ the third row on Exhibit 1344,
                                    Deposition of Mike Ringhofer,                does Oracle currently have a license with any of the companies listed
Automotive         BMW
                                    Dec. 2, 2015, 105:20-106:18                  there? … A. BMW is licensed as well. I’m just not sure if it’s
                                                                                 directly through BMW or a partner.”

                                                                                “What about Bosch? A. My understanding is, is they're directly
                                                                                 licensed from us. Q. What have they licensed? A. I believe it's Java
                                                                                 ME. Q. And for what purpose? A. So there's an on-board diagnostic
                                                                                 port on vehicles, and they have a module that plugs into the
Automotive         Bosch            Deposition of Mike Ringhofer, Dec.
                                                                                 diagnostic port -- or Obd2, or whatever it's called, and it tracks how
                                    2, 2015, 108:15-109:5
                                                                                 someone's driving the car, how aggressive are they, how fast they
                                                                                 accelerate, how fast they brake, and they typically sell this system or
                                                                                 this service to leasing companies to make sure the cars are not being
                                                                                 abused.”
                                                                                “Google pushing Android but only Honda is using. I also hearing
                                                                                 Nissan goes to Android. . . . Many partners in Japan such as
Automotive         Toyota           OAGOOGLE2000128185
                                                                                 Freescale, Hitachi, Fujisoft, and Toyota Tsusho are eager to do more
                                                                                 in this space and seek to use Java as part of their solution.”
                                                                                “Java for Automotives: Situations and what we do today . . . Toyota
                                    OAGOOGLE2000180517
                                                                                 Tsusho…strategic relationship to build relationship with Denso.”
                                                                                “Does Oracle currently have a license with MicroDoc? A. Yes. Q.
                                    Deposition of Mike Ringhofer, Dec.
                                                                                 And what is covered by that license? A. I don't know the specifics
                                    2, 2015, 25:22-26-6
                                                                                 of what products. Certainly Java SE, don't -- don't know what else.”
                   MicroDoc                                                     “Q. So is it fair to say that currently the Microdoc license is the
Automotive                          Deposition of Georges Saab, Dec.
                   Software                                                      only Java license related to the automotive industry that Oracle has
                                    16, 2016, 97:20-25
                                                                                 executed? THE WITNESS: So directly, that's what I'm aware of.”
                                                                                “I was hable [sic] to finalize the Eval license type D, therefore now
                                    OAGOOGLE2006035268
                                                                                 MicroDoc can deliver the port to VW and Audi.”


                                                                         6
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 33 of 44



Product Category   OEM               Source                                                                    Quote
                                                                                 “Q. Okay. Of the companies listed under the "Automotive"
                                     Deposition of Mike Ringhofer, Dec.
                                                                                  category, who amongst them has Oracle lost business due to
                                     2, 2015, 109:12-17
Automotive         Hyundai                                                        Android? A. I'm aware of Hyundai and Honda, specifically.”
                                     Deposition of Mike Ringhofer, Dec.          “Q. Did Oracle have a license with Hyundai or Honda? A. We did
                                     2, 2015, 110:13-15                           not. Not for Java.”
                                                                                 “Q. Okay. Of the companies listed under the "Automotive"
                                     Deposition of Mike Ringhofer, Dec.
                                                                                  category, who amongst them has Oracle lost business due to
                                     2, 2015, 109:12-17
                                                                                  Android? A. I'm aware of Hyundai and Honda, specifically.”
Automotive         Honda
                                     Deposition of Mike Ringhofer, Dec.          “Q. Did Oracle have a license with Hyundai or Honda? A. We did
                                     2, 2015, 110:13-15                           not. Not for Java.”
                                     OAGOOGLE2000095625 at 629                   Android in Honda
                                                                                 “Opportunities . . . Every Automotive OEM need connected car
Automotive         Fuji Soft         OAGOOGLE2000118005                           platform with high security and robustness . . . Threats . . . Google
                                                                                  Android”
                                                                                 “Q. What about Tellit? Does Oracle have a license with them for
                                     Deposition of Georges Saab, Dec.
Automotive         Tellit                                                         Java? A. Yes. Q. For use of Java in automotives? A. Yes. Q. And
                                     16, 2016, 106:21-107:2
                                                                                  that's a current license? A. I believe so, yes.”
                                                                                 “Q. So you don't know one way or the other whether or not any
                                                                                  interest at all has been expressed by Denso with regards to a business
                                     Deposition of Georges Saab, Dec.             relationship with Oracle? A. I know that I had a meeting with Denso
                                     16, 2016, 148:25-149:7                       in order to discuss our technology and the state of it and -- and where
                                                                                  it was going. Q. What technology? A. Java SE Embedded
                                                                                  specifically.”
Automotive         Denso
                                                                                 “Fortunately, Denso is now evaluating Java SE-E8 of QNX/ARM
                                                                                  for in-car gateway and making a demo application for their private
                                                                                  exhibition at the end of March. We need to offer not only Java VM
                                     OAGOOGLE2000039770
                                                                                  technology but also Oracle back-end solutions which are clouds,
                                                                                  Middleware and center server. And they are interested in other
                                                                                  customer use case.”
                   Tata Motors
Automotive                           OAGOOGLE2000097108                          “Eventually Tata Motor decided to go with Android solution”
                   Telematics
                                                                                 “The communications group at Broadcom owns 70% of the digital
                                                                                  Set Top box processor market and let us know it was approximately
                                                                                  worth $2 billion dollars. BRICA is definitely a target focus for
Televisions        Ginga-J           OAGOOGLE2000030936                           Broadcom, along with any ideas on how to maintain and grow their
                                                                                  current market share using Oracle Java. Broadcom is acutely aware
                                                                                  of OCAP, Tru2Way, Ginga-J etc so there is not a lot of convincing
                                                                                  to do that Java is a market requirement.”


                                                                          7
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 34 of 44



Product Category   OEM               Source                                                                      Quote
                                                                                 “Q. For "Televisions," of the companies listed here on Exhibit 1344
                                     Deposition of Mike Ringhofer, Dec.
                                                                                  in the "Television" category, who amongst them is a current Oracle
                                     2, 2015, 111:7-12
Televisions        TPV                                                            licensee? A. TPV, TQDVD and M-Star, they are all licensees.”
                                     OAGOOGLE2008695851                          “FY15 Outlook. Opportunity: TPV—Royalty, Odds: 50%, Q4:
                                                                                  $500,000”
                                                                                 “Q. For "Televisions," of the companies listed here on Exhibit 1344
                                     Deposition of Mike Ringhofer, Dec.
Televisions        TQTVD                                                          in the "Television" category, who amongst them is a current Oracle
                                     2, 2015, 111:7-12
                                                                                  licensee? A. TPV, TQDVD and M-Star, they are all licensees.”
                                                                                 “FY15 Outlook. Opportunity: TQTVD—Royalty, Odds: 30%, Q4:
                                     OAGOOGLE2008695851
                                                                                  $800,000”
                                                                                 “Q. For "Televisions," of the companies listed here on Exhibit 1344
                                     Deposition of Mike Ringhofer, Dec.
Televisions        M-Star                                                         in the "Television" category, who amongst them is a current Oracle
                                     2, 2015, 111:7-12
                                                                                  licensee? A. TPV, TQDVD and M-Star, they are all licensees.”
                                                                                 “So Samsung, LG, Sony, Sharp and Panasonic, we're now speaking
                                                                                  in general, outside of Ginga-J, I get the delineation of whatever,
                                                                                  televisions, and these five companies -- and we've listed some big
                                                                                  names -- obviously, these are just a handful of some of the larger
                                                                                  names that I queried upon and talked to the team -- that we have lost
                   Samsung, LG,
                                     Deposition of Mike Ringhofer, Dec.           opportunities to each and every one of these in the Smart TV or
Televisions        Sony, Sharp,
                                     2, 2015, 113:16-114:12                       television space to Android…Q. Which of those companies was at
                   Panasonic
                                                                                  one time an Oracle licensee? A. Well, they've all been Oracle
                                                                                  licensees. Q. I meant specifically in the context of televisions. A. I
                                                                                  am not aware that they have been licensed. And I believe they were
                                                                                  early adopters of Android that basically in a similar way to
                                                                                  wearables really took over that market fast.”
                                                                                 “The work being scoped with iPanel may be our option unless
                                                                                  Oracle wants to make a full press to OCN to displace Android. . . .
                                     OAGOOGLE2000180303                           Mr. Xu confirmed the interest to work with Oracle for Cable TV
                                                                                  carriers projects . . . . But, he thinks there is considerable risk due to
Televisions        iPanel                                                         Android threat.”
                                                                                 “iPanel thinks that currently there is an opportunity window [in
                                                                                  2011] for promoting Java in China TV/Media, due to . . . there are no
                                     OAGOOGLE2000222133
                                                                                  dominating platforms (&apps) in DTV area yet – unlike mobile
                                                                                  world.”
Blu-Ray            General           OAGOOGLE2000101486                          “100% of all Blu-ray players run Java”
                                                                                 “Panasonic is using Java ME Media Pack for CDC for long time for
Blu-Ray            Panasonic         OAGOOGLE2000228794
                                                                                  Blu-ray devices”



                                                                          8
                                Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 35 of 44



Product Category     OEM                Source                                                                     Quote
                                                                                    “Q. Does Oracle currently have a license agreement with LG? A.
                                                                                     Yes. Q. And what does that license agreement cover? A. We -- we
                                        Deposition of Mike Ringhofer, Dec.
                                                                                     have -- we have a few -- well, there's a few different arrangements.
                                        2, 2015, 18:1-13
                                                                                     They're licensed in multiple products.…They are a licensee for our
Blu-Ray              LG Electronics                                                  Blu-ray.”
                                                                                    “Q. For "Blu-Ray," was there any deal that Oracle actually had and
                                        Deposition of Mike Ringhofer, Dec.           that it lost to Android? A. I don't believe so because the Blu-ray
                                        2, 2015, 116:12-21                           actually has a specification for Java. So if there is a Blu-ray player,
                                                                                     it -- it has Java as a necessity of the -- the standard.”
Media Players                                                                       “[Java was in] millions of TV set top boxes”
                                        OAGOOGLE2000253473
(including set-top   General
boxes)                                  OAGOOGLE0000154715                          “Worldwide MSO set-top box standards require Java.”
                                        Deposition of Mike Ringhofer, Dec.          “A. Cisco had Java that's been turning -- Scientific Atlanta -- has
                                        2, 2015, 117:5-7                             been turning to Android.”
                                                                                    “Q. And did Oracle actually have a deal with Cisco for the use of
                                                                                     Java in media players? A. Yes. Q. Okay. Is that deal current? A. I
Media Players /      Cisco/Scientific                                                believe so, yes… Q. And is Cisco now using Android? A. They are.
Set-top Boxes        Atlanta            Deposition of Mike Ringhofer, Dec.           Q. Is Oracle doing anything to actively market to Cisco for the use of
                                        2, 2015, 119:25-120:22                       Java in media players? A. When new opportunities come up, we
                                                                                     would look to win those and find any -- any time they're looking at --
                                                                                     and it's a good embedded scenario for Java, historically we've been
                                                                                     there. So, yes, we would still compete for that business.”
Media Players /                         Deposition of Mike Ringhofer, Dec.          “I believe some of the others, PCL, Lenovo, BENQ have seen
                     PCL
Set-top Boxes                           2, 2015, 117:16-18                           deterioration from Java to Android.”
Media Players /                         Deposition of Mike Ringhofer, Dec.          “I believe some of the others, PCL, Lenovo, BENQ have seen
                     Lenovo
Set-top Boxes                           2, 2015, 117:16-18                           deterioration from Java to Android.”
Media Players /                         Deposition of Mike Ringhofer, Dec.          “I believe some of the others, PCL, Lenovo, BENQ have seen
                     BenQ
Set-top Boxes                           2, 2015, 117:16-18                           deterioration from Java to Android.”
Media Players /
                     OCN                OAGOOGLE0011787884                          “TV & Embedded LOB – Pipeline. OCN. Probability %: 70%”
Set-top Boxes
                                                                                    “The communications group at Broadcom owns 70% of the digital
                                                                                     Set Top box processor market and let us know it was approximately
                                                                                     worth $2 billion dollars. BRICA is definitely a target focus for
Media Players /
                     Broadcom           OAGOOGLE2000030936                           Broadcom, along with any ideas on how to maintain and grow their
Set-top Boxes
                                                                                     current market share using Oracle Java. Broadcom is acutely aware
                                                                                     of OCAP, Tru2Way, Ginga-J etc so there is not a lot of convincing
                                                                                     to do that Java is a market requirement.”



                                                                             9
                              Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 36 of 44



Product Category   OEM              Source                                                                     Quote
                                                                                  “Broadcom offers a software framework called Trellis to their
                                                                                  ODMs and service providers for the plug and play of development
                                    OAGOOGLE2000030936
                                                                                  and delivery of digital TV applications and services. Java Run Time
                                                                                  competition: Android (and Skelmir, Adobe Air, HTML 5)”
                                                                                 “[Broadcom] believed [Oracle is] more stable in the long term,
                                                                                  produce focused once [Oracle] optimize [its] binaries, active in the
                                                                                  standard bodies …, have credibility and brand recognition with the
                                                                                  carriers.”
                                    OAGOOGLE20000029767 at 1-2
                                                                                 “This opportunity is about taking our market share back in the TV
                                                                                  market. Broadcom is the leader. Clean room implementors have
                                                                                  been undercutting us for years, and anything we take here is net new
                                                                                  $$.”
                                                                                 “Alticast has indicated … that they have Android and HTML5
                                    OAGOOGLE2000066068                            solutions ready for the market and are prepared to migrate their
Media Players /                                                                   licensees to these solutions.”
                   Alticast
Set-top Boxes                                                                    “A. Alticast, we've seen diminishing shipments as -- they as a
                                    Deposition of Mike Ringhofer, Dec.
                                                                                  partner as well that distribute to their key customers have been
                                    2, 2015, 117:10-18
                                                                                  switching to Android.”
                                                                                 “Coship saw the fast adoption of Android in the STB/Media market
Media Players /
                   Coship           OAGOOGLE2000077924                            and they had to focus on Android based solution to meet the
Set-top Boxes
                                                                                  requirement of their customer.”




                                                                         10
                              Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 37 of 44



Product Category   OEM              Source                                                                    Quote




                                    OAGOOGLE2008902960




                                                                                 “Shared Tier 1 Customers between Oracle and Broadcom: -
                                    OAGOOGLE2008747127                            Comcast, Time Warner, and every other STB manufacturer in the
                                                                                  world.”
                                                                                 “The communications group at Broadcom owns 70% of the digital
                                                                                  Set Top box processor market and let us know it was approximately
Media Players /                                                                   worth $2 billion dollars. BRICA is definitely a target focus for
                   Comcast
Set-top Boxes                       OAGOOGLE2000030936                            Broadcom, along with any ideas on how to maintain and grow their
                                                                                  current market share using Oracle Java. Broadcom is acutely aware
                                                                                  of OCAP, Tru2Way, Ginga-J etc so there is not a lot of convincing
                                                                                  to do that Java is a market requirement.”
                                                                                 “Shared Tier 1 Customers between Oracle and Broadcom: Comcast,
                                    OAGOOGLE2000030936
                                                                                  Time Warner, and every other STB manufacturer in the world.”
                                                                                 “Q. In the game console category, are either of those companies
                                                                                  listed there companies with whom Oracle once had a contract for the
                                                                                  use of Java and is now lost due to Android? A. So we have not lost
                                    Deposition of Mike Ringhofer, Dec.
Game Consoles      Xbox 360                                                       to Android on either of these, no. . . .For the xBox -- it's actually the
                                    2, 2015, 121:15-122:7
                                                                                  xBox 360. And that is actually licensed from a company called
                                                                                  sMedio, s-M-e-d-i-o. And they license the stack to Microsoft; that it
                                                                                  contains Blu-ray for the use in Microsoft xBox 360.”



                                                                         11
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 38 of 44



Product Category   OEM               Source                                                                      Quote
                                                                                  “Q. In the game console category, are either of those companies
                                                                                   listed there companies with whom Oracle once had a contract for the
                                                                                   use of Java and is now lost due to Android? A. So we have not lost
                                     Deposition of Mike Ringhofer, Dec.
Game Consoles      PlayStation 4                                                   to Android on either of these, no. Just to be specific I guess, so the
                                     2, 2015, 121:15-122:1
                                                                                   PlayStation, that's Sony. So the company's Sony. This is using it in
                                                                                   the Blu-ray. So Blu-ray spec calls for Java. So Sony licenses it for
                                                                                   the PlayStation 4.”
                                                                                  “Q. For "Web Browsers," are you aware of any company with whom
                                                                                   Oracle once had a contract for the use of Java that it has since lost to
                                     Deposition of Mike Ringhofer, Dec.
                                                                                   Android? A. My understanding is that we did have licensing with
                                     2, 2015, 122:8-16
                                                                                   Opera for the minibrowser, and that has since went away; and they
                                                                                   have basically moved to Android instead of Java.”
                                     Deposition of Mike Ringhofer, Dec.           “Q. Is it your understanding that Opera now uses Android in some
                                     2, 2015, 122:24-123:1                         fashion? A. That is my understanding, yes.”
Web Browsers       Opera Mini
                                                                                  “Q. Are you aware of any license that Oracle has for the use of Java
                                                                                   in Web browsers? A. So yes, but -- so in this specific context in this
                                                                                   exhibit, this is in reference to Java running in mobile Web browsers.
                                     Deposition of Georges Saab, Dec.
                                                                                   I just want to draw the distinction because there's Java in desktop
                                     16, 2016, 116:5-13
                                                                                   Web browsers as well, which is different. So there was a license for
                                                                                   the Opera Mini, as referenced here, and, in this case, they went to
                                                                                   Android.”
                                                                                  “Who are the top 10 partners we need to have in each of our target
                                     OAGOOGLE200007581
Household                                                                          verticals? Smart Grid / Smart Homes . . . 10. GE/Samsung/LG.”
                   General
Appliances                                                                        “Oracle Platform for Home Automation Sales Playbook (June
                                     OAGOOGLE2000094077
                                                                                   2013)”
Household                                                                         “Who are the top 10 partners we need to have in each of our target
                   LG Electronics    OAGOOGLE200007581
Appliances                                                                         verticals? Smart Grid / Smart Homes . . . 10. GE/Samsung/LG.”
                                                                                  “Mr. Seo has a big concern about price of Java …. do not want to
Household
                   Samsung           OAGOOGLE2000023783                            utilize Java on Samsung device because they believe Android is free,
Appliances
                                                                                   but Java is expensive. That is quite a challenge for Java”
                                     OAGOOGLE2000128379                           “1 new opportunity in Korea: Samsung Electronics Air Conditioner”
Household                                                                         “We pursued them with Smart Appliances such as a Smart air-
                   Samsung           Deposition of Mike Ringhofer, Dec.
Appliances                                                                         conditioner which we lost to Android. So we are constantly looking
                                     2, 2015, 83:11-14
                                                                                   to license Samsung new Java opportunities.”
                                                                                  “A majority of Freescale customers first consider Android or
Household
                   Freescale         OAGOOGLE20000180777                           Microsoft for embedded but are unaware of Java as a possible
Appliances
                                                                                   solution, making it a harder sell for Freescale”



                                                                          12
Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 39 of 44
                                 Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 40 of 44



Product Category     OEM               Source                                                                      Quote
                                                                                    IoT deal for Java SE for CNC Mills/Lathes
Internet of Things   Haas Automation   OAGOOGLE2006020696
                                                                                                                                 )
                                       Deposition of Mike Ringhofer, Dec.           “Q. Does Oracle currently have a license agreement with Samsung?
                                       2, 2015, 20:9-18                              A. Yes. Q. What does that license agreement cover? A. We also have
                                                                                     a variety of licensing . . . one of those being with Internet of Things
                                                                                     related to SmartThings devices.”
Internet of Things   Samsung
                                                                                    “Q. You mentioned also the Internet of Things. Does Oracle
                                       Deposition of Mike Ringhofer, Dec.
                                                                                     currently have a license with Samsung on an Internet of Things
                                       2, 2015, 21:13-19
                                                                                     related device? A. Yes. Q. What is that license? A. It's their
                                                                                     SmartThings platform.”
                                                                                    “Executive Briefing Document. Information for Executive Meeting
                                                                                     with Research in Motion. . . . RIM . . . feel Oracle can help by
                                                                                     leveraging its Java leadership, developer community and enterprise
Tablet               RIM               OAGOOGLE2000180086
                                                                                     market presence. RIM wants a short term strategy to address its
                                                                                     time-to-market issues around Playbook tablet as well as long-term
                                                                                     platform strategy for its future products.”
                                                                                    “Java is not used in Digital Camera today. But Nikon released one
Cameras              Nikon             OAGOOGLE2000059827                            model based on Android the other day. But we have hope to let
                                                                                     them use Java.”
                                                                                    “Building Automation, Panasonic System Networks, Security
Cameras              Panasonic         OAGOOGLE2000180771
                                                                                     Camera, 7/23/2014”
                                       OAGOOGLE2007614035                           Security camera (contacted)
                                                                                    “Security Camera System: Found out they are major CMOS Camera
                                                                                     supplier with 100% share in ATM and Kiosk Terminal at major
                                                                                     convenience stores. Current using C/C++ on Linux with 512MB
Cameras              Shikino High Tech OAGOOGLE2000125785
                                                                                     RAM. Now they are OK with switching to Java. We need more
                                                                                     investigation of their volume in each market segment for us to figure
                                                                                     out our business potential and strategy.”
                                                                                    “FY14 Q2 Expected New Design Wins: NEC – Security Camera /
                     Robot (security   OAGOOGLE2007614035                            Robot”
Cameras
                     camera)                                                        “Smart House / Smart Building, New Design win, Security Camera /
                                                                                     Robot –NEC”
                     Sony (Security
                                                                                    “Smart House / Building (2) Status, Targeted (Security Camera):
Cameras              Camera—            OAGOOGLE2007614035
                                                                                     Sony”
                     Targeted)
                     Mitsubishi
                                                                                    “Smart House / Building (2) Status, Targeted (Security Camera):
Cameras              (Security Camera-- OAGOOGLE2007614035
                                                                                     Mitsubishi”
                     Targeted)


                                                                            14
                             Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 41 of 44



Product Category   OEM                 Source                                                                   Quote
                   Canon (Security
                                       OAGOOGLE2007614035                           “Smart House / Building (2) Status, Targeted (Security Camera):
Cameras            Camera—
                                                                                     Canon”
                   Targeted)
                   Hitachi (Security
                                       OAGOOGLE2007614035                           “Smart House / Building (2) Status, Targeted (Security Camera):
Cameras            Camera—
                                                                                     Hitachi”
                   Targeted)

                                                                                    “JavaSE Embedded, Java FX on Amazon Kindle . . . Get JavaFX to
                                       OAGOOGLE2000060932                            work on Amazon kindle …. and hopefully convince them to switch
                                                                                     UI tools.”
                                                                                    “you can look at Amazon. The Amazon Kindle is based on Java
E-readers          Kindle
                                       Deposition of Georges Saab, Dec.              ME, and the Kindle Fire is Android based.”
                                       16, 2016, 45:5-7                             “Amazon evaluating Java SE for Kindle v4. Estimates are 4M
                                                                                     units/year . . . Steep ramp of Kindle units anticipated by the market.
                                       OAGOOGLE2007775909                            Corresponding revenue growth to Oracle for FY10 anticipated at 4M
                                                                                     units ($3.1M+).”
                                                                                    “Indirect Executive Summary Form . . . Amazon plans to introduce a
                                                                                     new model in the Kindle E-Book Reader product line sometime in
                                                                                     late 2015, or very early 2016 . . . Oracle Engineering Services, which
                                       OAGOOGLE2000180051                            has created all the ports of Java ME to the Kindle since its inception,
                                                                                     have provided Amazon with an evaluation copy of Java SE 8
                                                                                     integrated with the [AGUI] API that Amazon currently uses with
                                                                                     Java ME.”
                                       Deposition of Donald Smith                   “Q. Are you aware of any Oracle licensee in the media player market
E-readers          Kindle Fire
                                       30(b)(6) and Individual, Nov. 20,             choosing Android over Java? A. Well, Kindle Fire would be a great
                                       2015, 114:11-14                               example of that.”
                                                                                    “Q. At the time that Amazon chose Android, do you know whether
                                                                                     or not Oracle was offering a solution that fit Amazon's needs for its
                                       Deposition of Georges Saab, Dec.              Fire tablet or any other devices considering? THE WITNESS: I
                                       16, 2015, 62:11-19                            believe that the offering that Oracle had at the time, both Java SE
                                                                                     Embedded and Java ME, are basic technologies that could be used to
                                                                                     achieve a similar goal.”
                                       Deposition of Mike Ringhofer, Dec.           “Q. What products does Cisco license Java ME for? A. The
                                       2, 2015, 35:12-14                             voiceover IP telephones.”
VoIP Phones        Cisco                                                            “Network Equipment Providers—VoIP Handsets, #1—30%, VoIP
                                       OAGOOGLE2008897992                            Handset running CDC, FY07-FY12 revenue: $4.5M”




                                                                            15
                             Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 42 of 44



Product Category   OEM              Source                                                                 Quote
                                                                                “Network Equipment Providers—VoIP Handsets, #2—22%. Avaya:
VoIP Phones        Avaya            OAGOOGLE2008897992
                                                                                 VoIP Handset running Java SE, Revenue FY07-FY12: $702,000”
                                                                                “Network Equipment Providers—VoIP Handsets, #3—9%. NEC: 6
VoIP Phones        NEC              OAGOOGLE2008897992
                                                                                 Yr Revenue Potential: $1.3M”
                                                                                “Network Equipment Providers—VoIP Handsets, #4—8%. Alcatel
VoIP Phones        Alcatel Lucent   OAGOOGLE2008897992
                                                                                 Lucent: 6 Yr Revenue Potential: $1.2M”
                                    Deposition of Donald Smith
                                                                                “Lexmark is an example. They're a printer company, and we were
Printers           Lexmark          30(b)(6) and Individual, Nov. 20,
                                                                                 pursuing a license with them, and they went with Android.”
                                    2015, 121:3-6
                                                                                “Computer Hardware (Storage/Peripherals) – Printers. #1 –30%
Printers           Ricoh            OAGOOGLE2008897992
                                                                                 Ricoh. Printer running Java ME, Revenue FY07-FY12: $2.4M”
                                                                                “Fuji Xerox now thinks about applying our Java base IoT solution to
                                                                                 their MFP base system. . . Fuji Xerox wants us and Murata to
                                                                                 involve other MFP makers to apply our IoT solution as an industry
                                                                                 solution. They also want us to gather representative persons from
                                    OAGOOGLE2000125785
Printers           Fuji Xerox                                                    each MFP makers to discuss to make one common data protocol
                                    OAGOOGLE2008897992
                                                                                 around MFP as gateway as a working group, or consortium in the
                                                                                 end. I am talking to FMW about the idea for band End [sic] side.”
                                                                                “Computer Hardware (Storage/Peripherals) – Printers. #3 –20% Fuji
                                                                                 Xerox. 6 Yr Revenue Potential: $1.6M”
                                                                                “Ongoing business: . . . We expect 1.5 M units in FY15 by printer
                                                                                 companies. (JavaFX is a key function). Fuji Xerox will ship new
                                    OAGOOGLE2000255195
                                                                                 products with Java SE-E. Canon is evaluating Java SE on both MFP
                                                                                 and ink-jet Printer.”
                                                                                “Canon has deployed many printers based on the Java CDC platform
Printers           Canon                                                         and has developed a large amount of applications and custom code
                                                                                 on the platform. In addition Canon has a large ecosystems [sic]
                                    OAGOOGLE2000227977
                                                                                 consisting of hundreds of applications written to CDC Personal
                                    OAGOOGLE2008897992
                                                                                 Profile specification.”
                                                                                “Computer Hardware (Storage/Peripherals) – Printers. #2 –25%
                                                                                 Canon. Printer running Java ME, Revenue FY07-FY12: $1.7M”
                                                                                “Computer Hardware (Storage/Peripherals) – Printers. #4 –10%
Printers           Epson            OAGOOGLE2008897992
                                                                                 Epson. 6 Yr Revenue Potential: $0.8M”
                                                                                 “Samsung printer committed to use Java for their next MFP.
Printers           Samsung          OAGOOGLE0000398897                           Samsung signed SOW 25 guaranteeing emb SE ARM build release
                                                                                 for Samsung.”
                                                                                “Just got a request from Garmin, they are looking at platforms to put
GPS                Garmin           OAGOOGLE2009819421
                                                                                 on top of devices running their own Linux distro’s (as opposed to


                                                                        16
                               Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 43 of 44



Product Category   OEM               Source                                                        Quote
                                                                        just accepting Android + ipk + google play app store / iOS + Apple
                                                                        hardware + iTunes app store…) and they’re interested in using Java
                                                                        SE / JavaFX for these devices.”
                                                                       “Background: POS and Kiosk manufacturers, Retail software device
                                                                        platforms. Good range of big players (Toshiba, Star, Panasonic) and
                                                                        smaller specialist companies. Key observations: Lots of Android and
                                                                        Windows presence both on the devices themselves and all of the
Vending                                                                 banners and literature. Lots of cloud based solutions and thin client
                   Consolis          OAGOOGLE2000126883
Machines/Kiosks                                                         terminals. Clear movement from traditional 'tills' to more
                                                                        PC/Apple/Android based POS terminals.” “Consolis: Hans
                                                                        Johansson in the Technical Director. Using FoxPro on some
                                                                        terminals! At migration point - looking at Android. Will make
                                                                        contact after the show.”
Vending
                   FIC               OAGOOGLE2000180771                “FIC, China, 6/1/2014, smart vending machine”
Machines/Kiosks
Vending                                                                “Agreements process (iES) under going: PSN Vending Machine:
                   Panasonic         OAGOOGLE2000125785
Machines/Kiosks                                                         BLRA – at BP”
                                                                       “Magtek: Doing some work with Java and provide a Java based
                                                                        SDK. No technical knowledge on this stand but have follow-up
                                                                        contact details to get more info.”
                                                                       “Newland: 2 types of terminals and handheld scanners. Currently
                                                                        Linux based. No awareness of Java in this space”
                                                                       “Sequoia aka Kiosks4Business: Hardware kiosk manufacturer based
Payments           Magtek, Newland,                                     in Spencers Wood. Generally just provide terminals and software
Terminals and      Sequoia,                                             platform is directed by the end customer. Would be open to meeting.
                                    OAGOOGLE2000126883                  To contact after show.”
Point of Sale      BSquared,
Terminals          Future4POS                                          “BSquared. Geoff has already met with them apparently. Early days
                                                                        relationship discussions. Very keen to work with us further and
                                                                        strong Java supporters.”
                                                                       “Future4POS: Revisited booth 4 times but they were always busy.
                                                                        The only visible use of Java that I saw of the show as they have a tag
                                                                        line displayed on the booth saying ‘Futura4POS [sic] – 4th
                                                                        generation Java based EPOS’”

Payments
                                                                       “Moving forward with NEC as Sler toward the end user Suzuken, a
Terminals and
                   Denso Wave        OAGOOGLE2000125785                 major retail stores. Java ME on Windows CE6 and Embedded
Point of Sale
                                                                        Compact 7. They prefer AWT, but we try to have them use JavaFX.
Terminals


                                                               17
                             Case 3:10-cv-03561-WHA Document 2136-2 Filed 04/20/17 Page 44 of 44



Product Category   OEM                Source                                                   Quote
                                                                      We are driving NEC toward the direction by showing JavaFX demo
                                                                      on CE platform next week.”
Payments
Terminals and                         OAGOOGLE2007614035
                   OKI (ATM)                                         “FY14 Q3 Expected New Design Wins: OKI – ATM”
Point of Sale
Terminals
Payments
Terminals and      Fujitsu Frontech   OAGOOGLE2007614035
                                                                     “New Design win, POS: Fujitsu Frontech” (2012)
Point of Sale      (ATM)
Terminals
Payments
Terminals and      Toshiba TEC        OAGOOGLE2007614035             “Retail & Finance—Shipment Growth, POS: Toshiba TEC, NEC
Point of Sale      (POS)                                              Infrontia”
Terminals
Payments
Terminals and      NEC Infrontia                                     “Retail & Finance—Shipment Growth, POS: Toshiba TEC, NEC
                                      OAGOOGLE2007614035
Point of Sale      (POS)                                              Infrontia”
Terminals
                                                                     “Clover: Android based open terminal. Very new to market with
                                                                      designed terminals. Very Appleish and adopting a similar business
                                                                      model in terms of encouraging an open developer platform and store
                                                                      for retailers to purchase new applications. Apps predominantly run
                                                                      in the cloud.”
                                                                     “Hoft & Wessel: Android and Windows based payment terminals
Payments                                                              and kiosks. Not aware of any Java discussions within the company.”
Terminals and
                   Clover, Hoft &                                    “YesPay: Java running on payment terminals. May be dated 1.6? No
                   Wessel, YesPay,    OAGOOGLE2000126883              technical details available. Needs more background.”
Point of Sale
Terminals
                   Enactor                                           “Enactor: Software solutions for retail. All Java based. Crying out
                                                                      for a closer relationship with us. Open to joint press, displaying and
                                                                      advertising Java logo etc. Have some high profile deployments of
                                                                      Java within retail. They mentioned Harrods and having just supplied
                                                                      an additional 300 units. I didn’t push too heavily at this point on the
                                                                      monetization point but we need to explore this in a follow-up
                                                                      meeting”




                                                             18
